                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                 No. 5:04-CR-167-BO
                                 No. 5:16-CV-378-BO

MALCOLM JERMAINE CARRY,                           )
                                                  )
              Petitioner,                         )
                                                  )       UNOPPOSED MOTION TO
              v.                                  )       PLACE IN ABEYANCE
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
              Respondent.                         )

      Respondent, by and through the United States Attorney for

the Eastern District of North Carolina, hereby moves the Court

to hold this matter in abeyance pending the oral arguments and

subsequent     decisions        of    the   Fourth     Circuit     Court     of    Appeals

in   United     States     v.    Walker,         No.   15-4301     (4th     Cir.    2016),

and United States v. Simms, No. 15-4640 (4th Cir. 2016), both of

which are scheduled to be heard in September or October of this

year.      In support of this motion, Respondent shows unto the

Court the following:

      1.      On   or    about       June   13,    2016,       Petitioner    filed    the

instant    motion       pursuant      to    28   U.S.C.    §    2255.       [D.E.   221].

Petitioner alleges that Hobbs Act robbery is not a crime of

violence for purposes of 18 U.S.C. § 924(c) in light of Johnson

v. United States, 135 S. Ct. 2551 (2015).




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      2.   As this Court is aware, in Johnson, 135 S. Ct. at

2557, the Supreme Court struck as unconstitutionally vague the

residual   clause   of   the    Armed    Career    Criminal    Act    (ACCA),   18

U.S.C. § 924(e)(2)(B).

      3.   At    issue   here    is     whether    the   holding     in     Johnson

extends to the residual clause found in § 924(c)(3)(B).                       This

issue will potentially be addressed by the Fourth Circuit in two

cases currently scheduled for oral argument in September/October

of 2016:   United States v. Walker, No. 15-4301 (4th Cir. 2016),

and   United    States   v.    Simms,     No.     15-4640    (4th    Cir.    2016).

Accordingly, the decisions in those cases may have a significant

impact on the resolution of Petitioner’s § 2255 motion.

      4.   Respondent    therefore       requests     that    this    Court   hold

Petitioner’s § 2255 motion in abeyance until the Fourth Circuit

decides the aforementioned cases.

      5.   Counsel for Petitioner does not object to this motion.

           WHEREFORE, Respondent respectfully requests that the

Court hold this matter in abeyance pending the Fourth Circuit’s

decisions in Walker and Simms.




                                         2
    Respectfully submitted, this 15th day of July, 2016.

                               JOHN STUART BRUCE
                               Acting United States Attorney


                         BY:   /s/ Donald R. Pender
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                     CERTIFICATE OF SERVICE

     I hereby certify that on July 15, 2016, I served a copy of the

foregoing upon the following persons:

    Sherri R. Alspaugh
    Assistant Federal Public Defender
    Counsel for Petitioner
    (Via ECF)



                               /s/ Donald R. Pender
                               DONALD R. PENDER
                               Assistant United States Attorney




                                 3
